Case 1:01-cv-12257-PBS Document 6607-2 Filed 10/23/09 Page 1 of 2




                      EXHIBIT A
    Case 1:01-cv-12257-PBS Document 6607-2 Filed 10/23/09 Page 2 of 2



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                            )
IN RE: PHARMACEUTICAL INDUSTRY              )
AVERAGE WHOLESALE PRICE                     )
LITIGATION                                  )
                                            )
THIS DOCUMENT RELATES TO:                   )      MDL NO. 1456
                                            )      CIVIL ACTION NO.
City of New York et al v. Abbott            )      01-12257-PBS
Laboratories, et al.                        )
Civ. Action No. 04-cv-06054, et al.         )
                                            )

                                 ORDER

                         September 22, 2008

Saris, U.S.D.J.

     The Court DENIES Plaintiffs’ objections to August 20, 2008

ruling by Magistrate Judge Bowler granting Schering Corporation’s

Motion for a Protective Order (Docket 5546).        However, I modify

it as follows: Plaintiffs may conduct discovery with respect to

any branded drugs that have an AWP to AMP spread of over 30% for

the year.   Plaintiffs may also depose Professor Addanki regarding

his calculations.   While it may be better to have quarterly

calculations, the proposal to use an AWP to AMP spread makes

sense.   Plaintiffs may submit an expert affidavit proposing

alternative expert calculations, but it should be transparent and

consistent in its methodology.



                                         S/PATTI B. SARIS
                                         United States District Judge
